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             Case 2:19-cr-20177-JPM Document 3 Filed 07/22/19 Page 1 of 6              PageID 5

                                                                                    FILED fN OPEN COURT

                              IN THE UNITED STATES DISTRICT COURT DATE:                   "7h-z.12-~/7
                            FOR THE WESTERN DISTRICT OF TENNESSEE TIME:                    '7 : )
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                                          WESTERN DIVISION                        INITIALS: ~

        UNITED STATES OF AMERICA,                     *

                   Plaintiff,                         *

        v.                                            *             No.: 19-1-011

        MICHAEL HELLMAN, M.D.,                        *

                   Defendant.                         *


                                           PLEA AGREEMENT


              The Defendant, MICHAEL HELLMAN , M.D ., by and through his counsel , Steven

        E. Farese and Mark S. McDaniel, knowingly and voluntarily agrees with the United

        States, through D. Michael Dunavant, United States Attorney for the Western District of

        Tennessee , Joe Beemsterboer, Chief, Health Care Fraud Unit, Fraud Section , Criminal

        Divison, U.S. Department of Justice, and through Gregory Allen , the undersigned

        Assistant United States Attorney, and Jillian Willis , the undersigned Trial Attorney, to

        enter into the following plea agreement pursuant to Fed . R. Crim. P. 11 (c)(1 )(C).

              1.      The Defendant agrees to enter a plea of guilty to Counts One and Two of
                      the Information. In Count One of the Information , the Defendant is charged
                      with Unlawful Distribution of a Controlled Substance, in violation of 21
                      U.S.C. § 841 (a)(1). The maximum penalty for Unlawful Distribution of a
                      Schedule 11 Controlled Substance is 20 years imprisonment, a fine of not
                      more than $1,000 ,000, or both , to be followed by three years supervised
                    · release . In Count Two of the Information , the Defendant is charged with
                      Conspiracy to Distribute and Dispense Controlled Substances in violation
                      of 21 U.S.C . § 846 . The statutory maximum penalty for Conspiracy to
                      Distribute a Schedule V Controlled Substance is a term of imprisonment of
                      not more than one year, a fine of not more than $100,000 , or both.
Case 2:19-cr-20177-JPM Document 3 Filed 07/22/19 Page 2 of 6            PageID 6




 2.    The Defendant further agrees that:

  a.    He is pleading guilty to Counts One and Two of the Information because
        he is guilty of the charges contained within;

  b.   The agreed upon value of the property subject to forfeiture for Defendant's
       commission of the offenses to which he has agreed to plead guilty is
       $100,000.00. Defendant will not contest, challenge, or appeal in any way
       the administrative or judicial (civil or criminal) forfeiture to the United
       States of the agreed upon value of property subject to forfeiture. The
       Defendant consents to entry of any orders or declarations of forfeiture
       regarding such property and agrees to waive the time limitation for the
       administrative forfeiture of the agreed upon funds. The defendant further
       agrees to hold the government, its officers, agents, and employees
       harmless from any claim whatsoever in connection with the seizure,
       forfeiture, storage, or disposal of such property;

  c.   If he had proceeded to trial and had been convicted, he would have had
       the right to appeal the conviction. He understands that by pleading guilty,
       he gives up the right to appeal the conviction. Based on concessions
       made in this plea agreement by the United States, he also hereby waives
       his rights to appeal his sentence, unless the sentence exceeds the
       maximum permitted by statute or is the result of an upward departure from
       the guideline range that the Court establishes at sentencing;

  d.   Except with respect to claims of ineffective assistance of counsel or
       prosecutorial misconduct, he waives his right to challenge the sufficiency
       or the voluntariness of his guilty plea on direct appeal or in any collateral
       attack;

 e.    He stipulates that his having a DEA number at any time in the future would
       be against the public interest. He further stipulates that his maintaining a
       medical practice would be against the public interest. As such, Defendant
       understands, acknowledges, and agrees that as a result of this Plea
       Agreement, he will be permanently prohibited from obtaining or
       maintaining a Drug Enforcement Administration controlled substance
       registration number (a "DEA number"), and he further agrees not to
       maintain a medical practice . Defendant agrees to undertake all steps
       necessary to effectuate the terms of this paragraph, including completing
       and executing all necessary documents provided by any department or
       agency of the federal government, within sixty (60) days of the execution
       of this Plea Agreement or within sixty (60) days of his notification that he is
       in violation of this paragraph, as appropriate;




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Case 2:19-cr-20177-JPM Document 3 Filed 07/22/19 Page 3 of 6             PageID 7




  f.     The special assessment of $125 is due and payable to the U.S. District
         Court Clerk's Office, and the Defendant agrees to provide the United
         States with evidence of payment immediately after sentencing; and

  g.     This writing constitutes the entire Plea Agreement between the Defendant
         and the United States with respect to the plea of guilty. No additional
         promises, representations or inducements, other than those referenced in
         this Plea Agreement, have been made to the Defendant or to the
         Defendant's attorney with regard to this plea, and none will be made or
         entered into unless in writing and signed by all parties.

 3.     Defendant admits that if put to its burden at trial, the government would be
        able to prove the following beyond a reasonable doubt:

  Defendant Michael D. Hellman was a doctor licensed by the State of Tennesseee
  Department of Health as a medical doctor and he maintained a Drug
  Enforcement Administration Registration ("DEA " Number) prior to April 17, 2019.
  From in or around January 2018 until in or around April 2019, in the Western
  Division of the Western District of Tennessee, Dr. Hellman had an office at 336
  Poplar View Parkway Suite #2, Collierville, Tennessee, where he had at least
  one other employee ("Co-Conspirator One'?- Co-Conspirator One, who sat at the
  front desk of Hellman 's practice, would communicate with individuals, who would
  in tum bring patients to Hellman 's office to obtain prescriptions. Hellman would
  provide prescriptions to patients with little to no medical examination. Hellman
  charged approximately $220.00 for patient visits; his practice did not accept
  insurance.

 On or about February 7, 2019, a confidential source ("CS'J was inserted into
 Hellman 's practice. Dr. Hellman provided a prescription for 60 Percocet pills to
 the CS, with little to no physical examination. The Percocet prescription
 contained approximately 300 mg of oxycodone, a Schedule II drug. This
 prescription was written outside the scope of professional practice and not for a
 legitimate medical purpose. On or about February 20, 2019, Hellman provided a
 prescription for Promethazine with Codeine to another CS. Hellman did not
 conduct a physical examination on the source, who had never before been a
 patient, and the entire patient visit happened at the front check-in desk of the
 practice.

  From January 2018 until April 2019, Hellman, who specialized in addiction
  medicine, wrote approximately 478 prescriptions for Promethazine with Codeine,
  to approximately 376 patients. The majority of Hellman's prescriptions for
  Promethazine with Codeine were not for a legitimate medical purpose and were
  outside the scope of professional practice. Promethazine with Codeine is the
  main ingredient in "purple drank, " a recreational drug that consists of a soft drink
  mixed with prescription cough syrup. Promethazine with Codeine has a street
  value of approximately $10 per teaspoon. Dr. Hellman knowingly and
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       Case 2:19-cr-20177-JPM Document 3 Filed 07/22/19 Page 4 of 6           PageID 8




         intentionally combined, conspired, confederated and agreed with others known
         and unknown, to distribute and dispense, not for a legitimate medical purpose
         and outside the scope of professional practice, Promethazine with Codeine, a
         Schedule V controlled substance. Hellman received proceeds from these crimes
         in the amount of approximately $100,000, which he has agreed to forfeit as set
         forth above.

        4.    The Defendant understands that:

         a.    If the United States receives information between the signing of this
               agreement and the time of the sentencing that the Defendant has
               previously engaged in, or if he engages in the future, conduct inconsistent
               with the acceptance of responsibility, including , but not limited to,
               participation in any additional criminal activities between now and the time
               of sentencing , this position could change;

         b.    Should it be judged by the United States that the Defendant has
               committed or attempted to commit any additional crimes or has engaged
               in any conduct constituting obstruction or impeding justice within meaning
               of U.S.S.G. § 3C1 .1 from the date of the Defendant's signing of this plea
               agreement to the date of the Defendant's sentencing, or if the Defendant
               attempts to withdraw the plea, the government will be released from its
               obligations and would become free to argue for any sentence within the
               statutory limits. Such a breach by the Defendant would not release the
               Defendant from the plea of guilty; and

         c.    Any statement made in the course of the plea colloquy may be used
               against him in any criminal prosecution . The Defendant knowingly,
               intelligently and voluntarily waives any objection based on Federal Rules
               of Evidence 410.

        5.    The parties agree that Defendant's base offense level, including relevant
              conduct under U.S.S.G § 2O1 .1(c)(6), is 10. Specifically, Defendant admits
              that on February 7, 2019, the Defendant distributed 300 mg of Oxycodone,
              and that for approximately fifteen months, from January 2018 until April
              2019, the defendant conspired to distribute more than 160,000 units of
              Promethazine with Codeine and this was knowingly and intentionally done
              with no legitimate medical purpose and outside the scope of professional
              practice. The converted drug weight of these prescriptions is at least 1KG
              but less than 2.5 KG ("the Agreed Weight under U.S.S.G § 201 .1(c)(16)").
              The Defendant abused a positon of trust and/or used a special skill under
              U.S.S.G § 3B1 .3.

        6.    Pursuant to Fed. R. Crim . P. 11 (c)(1 )(C), the United States and the
              defendant agree that the appropriate disposition of this case is, and agree
              to recommend jointly that the Court impose a sentence within the guideline

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                  Case 2:19-cr-20177-JPM Document 3 Filed 07/22/19 Page 5 of 6           PageID 9




                         range of Zone A, offense level 8, of the Sentencing Table (0-6 months),
                         and a fine of $5,000.

                   7.    Neither the United States, nor any law enforcement officer, can or has
                         made any promises or representations as to what the sentence imposed by
                         the Court will be.

                   8.    The United States agrees that, if the Court accepts the defendant's guilty
                         plea, it will move to dismiss the Indictment in this case after sentencing,
                         and it will not prosecute the defendant for any offense related to the
                         offenses charged in the Indictment.

                   9.    By signing this agreement, Defendant affirms that he is satisfied with his
                         lawyers' counsel and representation, and hereby freely and voluntarily
                         enters into this plea agreement. The Defendant understands that this
                         writing constitutes the entire Plea Agreement between the Parties with
                         respect to the plea of guilty. No additional promises, representations or
                         inducements, other than those referenced in this Plea Agreement, have
                         been made to the Defendant or to the Defendant's attorneys with regard to
                         this plea, and none will be made or entered into unless in writing and
                         signed by all parties.




            MICHAEL D. HELLMAN
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            ,r~~~
            STEVEN FARESE                                   Date
            MARK MCDANIEL
            Defendant's Counsel




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           Case 2:19-cr-20177-JPM Document 3 Filed 07/22/19 Page 6 of 6   PageID 10




          D. MICHAEL DUNAVANT
          United States Attorney


          By:



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                                                         Date




          JOE BEEMSTERBOER
          Chief, Health Care Fraud Unit
          Fraud Section , Criminal Divison
          U.S. Department of Justice




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              I Attorney , Health Care Fraud Un it
          Fraud Section , Criminal Divison
          U.S. Department of Justice




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